

People v Scott E. (2021 NY Slip Op 00128)





People v Scott E.


2021 NY Slip Op 00128


Decided on January 12, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: January 12, 2021

Before: Renwick, J.P., Kern, Mazzarelli, Kennedy, Shulman, JJ. 


Ind No. 99064/17 Appeal No. 12829 Case No. 2018-2721 

[*1]The People of the State of New York, Respondent,
vScott E., Defendant-Appellant.


Robert S. Dean, Center for Appellate Litigation, New York (Hunter Haney of counsel of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Felicia A. Yancey of counsel), for respondent.



Order, Supreme Court, Bronx County (Raymond L. Bruce, J.), entered on or about May 4, 2018, which adjudicated defendant a level three sex offender pursuant to the Sex Offender Registration Act (Correction Law art 6-C), unanimously affirmed, without costs.
The court providently exercised its discretion in granting the request for an upward departure from level one to level three. Clear and convincing evidence established the presence of aggravating factors, demonstrating a risk of harm to children, that were not otherwise adequately taken into account by the risk assessment instrument, including factors specified in the 2012 position statement on child pornography of the Board of Examiners of Sex Offenders (see People v Labarbera, 140 AD3d 463, 464 [1st Dept 2016], lv denied 28 NY3d 902 [2016]). Defendant's conduct did not consist of mere possession of child pornography. In a series of incidents, he also actively sought sexual contact with children. He most recently came to the attention of law enforcement after he approached and inappropriately touched a 10-year-old child in a swimming pool, among other conduct. He also made significant admissions about his interest in having sexual relationships with children.
The mitigating factors defendant cites do not outweigh the aggravating factors to the extent of warranting a level one or two adjudication.THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: January 12, 2021








